Case 2:19-cv-04237-DDP-PJW Document 6 Filed 05/16/19 Page 1 of 1 Page ID #:32

                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                                       CASE NUMBER:


NANO FOUNDATION, LTD. , et al.                             2:19−cv−04237−DDP−PJW
                                        PLAINTIFF(S)

       v.
DAVID C. SILVER

                                                            NOTICE TO FILER OF DEFICIENCIES IN
                                     DEFENDANT(S).
                                                                 ATTORNEY CASE OPENING




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Dated: May 16, 2019                     By: /s/ Edwin Sambrano edwin_sambrano@cacd.uscourts.gov
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